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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                               4:13CR3130-8
     vs.
                                                          DETENTION ORDER
DARIO CABALLERO-ARREDONDO,
                   Defendant.



      For the reasons stated in 4:14cr3011, filing #31,

IT IS ORDERED:

      1)     The above-named defendant shall be detained until further order.

      2)     The defendant is committed to the custody of the Attorney General for
             confinement in a corrections facility; the defendant shall be afforded
             reasonable opportunity for private consultation with counsel; and on order
             of a court of the United States, or on request of an attorney for the
             government, the person in charge of the facility shall deliver the defendant
             to a United States Marshal for appearance in connection with a court
             proceeding.


      November 17, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
